                       UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE



 UNITED STATES OF AMERICA,

                                          Plaintiff,         MOTION TO DISQUALIFY

                         v.                                  No. 3:16-CR-20
                                                             (Collier/Guyton)
 MARK HAZELWOOD, et al.,

                                       Defendants.



       Defendant Mark Hazelwood respectfully moves this Court, before the Honorable Curtis

L. Collier, for an Order recusing itself pursuant to 28 U.S.C. § 144 and/or 28 U.S.C. § 455(a). In

support of this motion, Defendant submits the following documents:

       1. Memorandum of Law in Support of Defendant Mark Hazelwood’s Motion to

           Disqualify;

       2. Affidavit of Mark Hazelwood; and

       3. Declaration of Jim Walden and supporting exhibit.


Date: May 14, 2021

 /s/ Jim Walden                                    /s/ Bradley L. Henry
 Jim Walden                                        Bradley L. Henry (BPR # 025447)
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                                   CERTIFICATE OF SERVICE


          I hereby certify that this document was filed electronically on May 14, 2021. Notice of
 this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
 on the electronic filing receipt. Parties may access this filing through the Court’s electronic
 filing system.


                                                                By:     /s/ Bradley L. Henry
                                                                        Bradley L. Henry




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